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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov

In re:
         Mario L Sorroche Moreno                Case No. 19-17620-RAM

            Debtor(s).                          Chapter 13
_________________________/

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Debtor's Emergency

Motion to Compel Turnover, Motion For Contempt , Motion For Sanctions Pursuant

Section 105(A) and 11 USC 362k Automatic Stay Violation Against Senna Lenders Corp

Filed by Debtor Mario L Sorroche Moreno ECF#16 and Notice of Hearing ECF#17 was

sent to all parties on the attached service list on July 9, 2019.

Electronically: Nancy K. Neidich, Trustee

First Class Mail:

Debtor(s), Mario LSorroche Moreno
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                                        Respectfully Submitted:

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